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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

__________________________________
In re:                                      )             Chapter 11
                                            )
CITADEL WAFORD DISPOSAL                     )             Case No. 15-11323 (KJC)
PARTNERS, L.P. et al., 1                    )
                                            )             (Jointly Administered)
                                Debtors.    )
___________________________________ )
                                            )
GAVIN SOLMONESE, LIQUIDATION )
TRUSTEE FOR THE CITADEL                     )
CREDITORS’ GRANTOR TRUST,                   )
Successor to Citadel Watford City           )
Disposal Partners, L.P., et al.             )
                                            )             Adv. Pro. No. 17-50024 (KJC)
                                Plaintiffs, )
                                            )
         v.                                 )
                                            )
CITADEL ENERGY PARTNERS, LLC, a )                         Re: D.I. 121
Wyoming limited liability company; FORT )
BERTHOLD WATER PARTNERS, L.P., a )                        No hearing will be held unless requested
Delaware limited partnership; STANTON )                   or ordered by the Court
DODSON, an individual; NICOLAS J.           )
VANDERWEY, an individual; LOUIS             )
BRIDGES, an individual; PETER SIMONS, )                   TRIAL BY JURY OF TWELVE
an individual; NICHOLAS TEMPLE, an          )             DEMANDED
individual; ERIC HOLOMAN, an                )
individual; ALASTAIR SMITH, an              )
individual; CARL COWARD, an                 )
individual; NORTH DAKOTA WATER              )
PARTNERS, LLC, a Delaware limited           )
liability company; JONATHAN P.              )
REUBEN, C.P.A., a California accountancy )
corporation; and DOES 1 through 100,        )
inclusive,                                  )
                                            )
                                Defendants. )
                                            )

1
 The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
Citadel Energy Services, LLC (7762); Pembroke Fields, LLC (0341); Citadel Energy SWD Holdings,
LLC (5266) and Citadel Watford City Disposal Partners, LP (1520). The address for each Debtor is PO
Box 2127, Watford City, North Dakota 58854.

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                        And                   )
                                              )
CITADEL WATFORD CITY DISPOSAL                 )
PARTNERS, LP, a Delaware limited              )
partnership, CITADEL ENERGY SWD               )
HOLDINGS, LLC, a North Dakota limited         )
liability company, CITADEL ENERGY             )
SERVICES, LLC, a Wyoming limited              )
liability company, and PEMBROKE               )
FIELDS, LLC, a North Dakota limited           )
liability company,                            )
                                              )
                        Nominal Defendants.   )
                                              )
___________________________________           )

                       MOTION OF DEFENDANT MARK DUNAWAY
                        TO DISMISS THE AMENDED COMPLAINT

         Defendant Mark Dunaway, by his undersigned counsel, hereby moves (the “Motion”)

pursuant to Federal Rules of Civil Procedure Rule 12(b)(6), made applicable to this adversary

proceeding by Rule 7012 of the Federal Rules of Bankruptcy Procedure for an order dismissing

all counts asserted against Mark Dunaway in the Liquidation Trustee’s Amended Complaint for

failure to state a claim upon which relief can be granted.

         Pursuant to Del. Bankr. L.R. 7012-1, Dunaway consents to the Bankruptcy Court’s

entering of a final order solely with respect to this Motion, if it is determined that the Bankruptcy

Court, absent consent of the parties, cannot enter final orders or judgments consistent with

Article III of the United States Constitution, and Dunaway expressly reserves all other rights

regarding the Bankruptcy’s Court’s power to finally determine any other matters in this

adversary proceeding or any other proceeding or in connection with any rights, claims or

defenses of Dunaway.

         The basis for the relief requested is set forth in the attached Opening Brief In Support of

Motion of Mark Dunaway to Dismiss Amended Complaint filed contemporaneously herewith.


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         WHEREFORE, Mark Dunaway respectfully requests that the Bankruptcy Court enter an

order, substantially in the form attached hereto (i) dismissing all counts against him in the

Amended Complaint with prejudice, and (ii) granting such other and further relief as the Court

may deem just and proper.



Dated: December 6, 2017                           COOCH AND TAYLOR, P.A.
Wilmington, Delaware

                                                  __/s/ R. Grant Dick IV___________
                                                  Robert W. Pedigo (DE No. 4047)
                                                  R. Grant Dick, IV (DE No. 5123)
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                                                  Counsel for Defendant Mark Dunaway




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